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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


JOHN F. BOWLEN,
     Plaintiff,

     V.                                            CIVIL ACTION NO.
                                                   1:15-cv-11191-MBB

CARE ONE, LLC, ET AL,
     Defendants


                    SETLEMENT ORDER OF DISMISSAL


BOWLER, U.S.M.J.

     The Court having been formally advised that the above-

titled action has been resolved with respect to all parties and

claims (docket entry #87);

     It is hereby ORDERED that this action is hereby dismissed

without costs and without prejudice to the right of any party,

upon good cause shown, to reopen the action within 60 days if

settlement is not consummated.

                                             BY THE COURT,

                                             /S/ Harold Putnam, Esq.
                                             Deputy Clerk

Dated: 5/2/2018
